Case 2:12-md-02327 Document 4817-1 Filed 10/20/17 Page 1 of 2 PageID #: 155495




                 EXHIBIT A
   Case 2:12-md-02327 Document 4817-1 Filed 10/20/17 Page 2 of 2 PageID #: 155496
                                         GUELCHER EXHIBIT A

       Case Name           Case Number
Beckley, Geraldine      2:12cv09257
Cardwell, Jannie        2:13cv01016
Cayer, Diane            2:12cv09976
Clark, Marabeth         2:12cv09251
Cunningham, Stephanie   2:12cv09853
DeFriece, Brenda        2:12cv09263
Fisher, Margaret        2:13cv00100
Garcia, Caira Gay       2:12cv08956
Gibbs, Lori             2:13cv00888
Golden, Sheila          2:12cv09303
Hamlin, Teresa          2:13cv00522
Heatherman, Christine   2:12cv09245
Hooper, Linda F.        2:13cv01686
Kieffaber, Carolyn      2:12cv08464
Lawler, Ruby            2:13cv01046
Maestas, Dawn           2:13cv01965
Maul, Elba              2:12cv09708
McKitterick, Beth       2:13cv00142
Moore, Martha E.        2:12cv08220
Nunez, Sylvia           2:13cv00533
Nurdin, Joyce           2:12cv09096
Parrish, Meredith Ann   2:13cv02622
Pilgrim, Lena M.        2:12cv08381
Shinaver, Rosemarie     2:12cv09304
Stevens, Carma          2:13cv01210
Tedder, Judy            2:13cv00097
Wing, Deborah           2:13cv01464
Wininger, Kathleen      2:13cv00284
Zember, Cynthia         2:12cv08211
